Case 1:21-cr-00041-JL Document 321-1 Filed 07/17/23 Page 1 of 3
              Case 1:21-cr-00041-JL Document 321-1 Filed 07/17/23 Page 2 of 3


Summary of Deposit Sources
Holder: Ian B. Freeman
First Tech Federal Credit Union, Checking 8014 (closed)
Time Period: November 2018 - January 2020

Deposit Source                              Count    Total Deposited Percentage of Total
Cash                                         415        $2,202,188.03      35.72%
C ,K         K.                                2           $57,475.00       0.93%
C       ,L                                     3           $44,600.00       0.72%
C        J                                    1             $5,000.00       0.08%
C      ,E              D.                      1          $155,000.00       2.51%
Credit One Bank                                1            $1,239.22       0.02%
Discover                                      2             $4,716.60       0.08%
F ,H          J                                1           $25,000.00       0.41%
F         , L A. L                             1           $30,000.00       0.49%
F         ,C                                   1            $9,950.00       0.16%
F         ,C           M.                     11          $664,762.00      10.78%
F         ,C           M. (returned)           1           $70,271.00       1.14%
F     ,C        D.                            5           $118,500.00       1.92%
Freeman, Ian B.                                2          $295,000.00       4.79%
Freeman, Ian/Free Talk Live                   15        $1,281,100.00      20.78%
G      ,G            E.                        1           $50,000.00       0.81%
H      ,R              J. POD R        IS     1            $20,000.00       0.32%
H       ,J                                    2            $18,500.00       0.30%
H     ,C        J                              1           $54,985.00       0.89%
H ,D          PA                              1             $6,600.00       0.11%
Item Missing                                   6           $66,250.00       1.07%
K     Enterprises LLC                          1           $13,000.00       0.21%
Maker Unknown                                 1            $38,332.00       0.62%
M          ,M                                  4          $163,040.00       2.64%
M     ,D            J.                         1           $20,000.00       0.32%
M     ,K                                       1           $75,000.00       1.22%
M      ,S        J.                           1             $8,000.00       0.13%
N ,J         C./J W                           1            $19,000.00       0.31%
NFCU (rejected)                                3            $9,022.40       0.15%
Shire Free Church Monadnock                    8          $142,500.00       2.31%
The D and D                A     Trust         4          $332,500.00       5.39%
T      ,S          L.                          3           $99,000.00       1.61%
Transfer SAV 8006 (Ian B. Freeman)             2            $4,274.00       0.07%
V ,R              M. Sole Prop                 1           $36,500.00       0.59%
V ,R              M. Sole Prop DBA Mr. B       1           $18,500.00       0.30%
W     D       W.                               1            $5,000.00       0.08%
Grand Total                                  507        $6,164,805.25     100.00%




as of April 20, 2022
              Case 1:21-cr-00041-JL Document 321-1 Filed 07/17/23 Page 3 of 3


Summary of Payees
Holder: Ian B. Freeman
First Tech Federal Credit Union, Checking 8014 (closed)
Time Period: November 2018 - January 2020

Payee                                     Count      Total Paid    Percentage of Total
Bank Fee                                   20             -$295.00         0.00%
Closing Withdrawal                          1          -$52,735.00         0.86%
Credit One Bank                             1           -$1,239.22         0.02%
Deposited Item Returned                     1          -$70,271.00         1.14%
Discover                                    2           -$4,716.60         0.08%
Freeman, Ian                               10         -$295,000.00         4.79%
MX1 LTD.                                    1           -$4,800.00        0.08%
NFCU                                        3           -$9,022.40        0.15%
Payward Inc.                                5         -$772,000.00        12.52%
Payward Ventures Inc.                      11       -$2,479,000.00        40.21%
Shire Free Church                           3          -$72,000.00         1.17%
Transfer SAV 8006 (Ian B. Freeman)          1          -$12,250.03         0.20%
Transfer to REW 7012 (Ian B. Freeman)      29       -$2,384,376.00        38.68%
UPMA                                        2           -$7,100.00        0.12%
Grand Total                                90       -$6,164,805.25       100.00%




as of April 20, 2022
